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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 18-cv-02722-DDD-KLM

   STATE FARM FIRE AND CASUALTY COMPANY,
   Plaintiff and Counterclaim-Defendant,

   v.

   DAVID E. WEBB,
   NICHOLAS T. WEBB, TRUSTEE OF THE SPIRIT MTN. TRUST
   DATED APRIL 5, 2007, and
   NICHOLAS T. WEBB, INDIVIDUALLY,

   Defendants and Counterclaim-Plaintiffs,

   And

   PARK ESTATES HOMEOWNERS ASSOCIATION, INC., and
   ROBIN GREGORY

   Defendants.

   ______________________________________________________________________________

            MOTION TO WITHDRAW AS COUNSEL BY JESSICA COLLIER
   ______________________________________________________________________________

            Jessica Collier of the law firm of Husch Blackwell LLP, moves to withdraw as an

   attorney for Plaintiff and Counterclaim Defendant State Farm Fire and Casualty Company.

   In support of this Motion, Attorney Collier states as follows:

            1. Pursuant to D.C.Colo.L.AttyR 5(b), an attorney may move to withdraw as Plaintiff’s

   counsel if there is good cause. Good cause to grant this motion exists because Attorney Collier is

   no longer able to represent State Farm due to a potential conflict of interest.




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            2. Attorney Evan Stephenson with the law firm Spencer Fane LLP remains counsel of

   record and will continue to represent Plaintiff State Farm Fire and Casualty Company in this

   case.

            WHEREFORE, the undersigned respectfully requests this Court Order the withdrawal of

   Attorney Jessica Collier as counsel for Plaintiff State Farm Fire and Casualty Company.

            Dated this 3rd day of March, 2021.


                                                  HUSCH BLACKWELL LLP


                                                  s/ Jessica Collier
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                                                  Jessica.collier@huschblackwell.com

                                                  Attorney for Plaintiff State Farm Fire and
                                                  Casualty Company




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 3, 2021 I filed a true and correct copy of the foregoing
   MOTION FOR WITHDRAWAL with the Clerk of Court using the CM/ECF system, which
   provided electronic notification of the filing via e-mail to the following counsel of record:

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                                                        s/ Jessica C. Collier
                                                        Jessica C. Collier




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